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 UNITED STATESOF AM ERICA,                       )
                                                 )
                     Plaintiff,                  )
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                                                 )       2:10-CR-283-PMP IfiW FI
                                                 )
 ALFREDA IRUNGAM Y,                              )
                                                 )
                     Defendant.                  )
                                  O RD ER O F FO R FEIT UR E
        ThisCourtfotmd on M arch 1,20l1,thatALFREDA IRUNGARAY shallpay a criminal

 forfeituremoneyjudgmentof$131,755.00inUnited StatesCurrency,pursuanttoFed.R.Crim.P.
 32.2(b)(1)and(2);Title 18,United StatesCode,Section 981(a)(1)(C)and Title28,United States
 Code,Section2461(c);andTitle 18sUnited StatesCode,Section 982(a)(2)(A).DocketM 5.
        THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DEcM ED thattheunited
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 Statesrecoverfrom ALFREDA IRIJNGARAY acriminalforfeituremoneyjudgmentkntheamotmt
 of$131,755.00inUnitedStatesCurrencyptzrsur ttoFed.R.Crim .P.32.2(b)(4)(A)and(B);Title
 18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Sectioli2461(c);and
 Title 18,UnitedStatesCode,Section982(a)(2)(A).                                                .
        DATED this ?pb dayof -./<. ..'--                 ,2011.
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